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                      UNITED STATES DISTRICT COURT                                   FILED
                    SOUTHERN DISTRICT OF CALIFORNIA
                                                                                       AUG 1 6 2013
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UNITED STATES OF AMERICA,                   CAS E NO. 13CR3 013- WQ us:!..v_ _.-JU:::::Ji=::::::-';':';"~

                      Plaintiff,
              vs.                           JUDGMENT OF DISMISSAL
JOSEPH ANTHONY OLSON (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

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 x__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/!nformation:

     8:1324(a) (1) (A) (iii) and (v) (II) - Transportation of Illegal Aliens

      And Aiding and Abetting

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: August 15, 2013
                                             David H. Bartick                      ~
                                             U.S. Magistrate Judge
